Case 2:24-cv-01300-JMG Document 2 Filed 03/29/24 Page 1 of 12

E.D.Pa. AO Pro Se 14 ( Rev. 01/21) Complaint for Violation of Civil Rights

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

Case No.

. \ to be filled in by the Clerk’s Office

‘ e = (to be fi iffice)
Plaintiff(s) .

(Write the full name of each plaintiff who is filing this complaint.

If the names of all the plaintiffs cannot fit in the space above,

please write “see attached” in the space and attach an additional

page with the full list of names. te

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(Write the full name of each defendant who is being sued. Jj the F
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page

with the full list of names. Do not include addresses here.)

Mexs Comms Core, Coerer., eve. ow
: COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NR RR

NOTICE

birth; a minor’s initials; and the last four digits of a financial account number.

this complaint.

which the prisoner is or was confined for the preceding six months. See 28 U.S.C. § 1915(a)(2).

entitled to the return of any payments made toward the fee.

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to electronic court files. Under this rule,
papers filed with the court should not contain: an individual’s full social security number or full birth date; the full name of a person known to be a
minor; or a complete financial account number. A filing may include only: the last four digits of a social security number; the year of an individual’s

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other materials to the Clerk’s Office with’

The Clerk will not file a civil complaint unless the person seeking relief pays the entire filing fee (currently $350) and an administrative fee (currently
$52) in advance, or the person applies for and is granted in forma pauperis status pursuant to 28 U.S.C. § 1915. A prisoner who secks to proceed in

forma pauperis must submit to the Clerk (1) a completed affidavittof poverty and (2) a copy of the trust fund account statement for the prisoner for the
six month period immediately preceding the filing of the complaint, obtained from and certified as correct by the appropriate official of each prison at

eet

If the Judge enters an order granting a prisoner’s application to proceed in forma pauperis, then the order will assess the filing fee (currently $350)
against the prisoner and collect the fee by directing the agency having custody of the prisoner to deduct an initial partial filing fee equal to 20% of the
greater of the average monthly deposits to the prison account or the average monthly balance in the prison account for the six-month period immediately
preceding the filing of the complaint, as well as monthly installment payments equal to 20% of the preceding month’s income credited to the account for
each month that the balance of the account exceeds $10.00, until the entire filing fee has been paid. See 28 U.S.C. § 1915(b). A prisoner who is
granted leave to proceed in forma pauperis is obligated to pay the entire filing fee regardless of the outcome of the proceeding, and is not

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I. The Parties to This Complaint
A... The Piatti)

Buavide the information below for each Bin named in the complaint. Attach additional pages if
needed.

Name Av A i \\ ATL OKC E\

All other names by which
you have been known:

ID Number ae C2A0E34A5 KA
Current Institution
Address
City “Sate — Zip Code

B. The Defendant(s)

Provide the information below for each defendantnamed in the complaint; whether the defendant is an

individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)

listed below are identical to those contained in the above caption. For an individual defendant, include

the person’s job or title (if known) and check whether you are bringing this complaint against them in their
- individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Namigrt 30725" Sorkudese,! Me, Mardihos

Job or Title (fkmown). . , AS oer ievercdescks JN Marre
v :;

Shield Number :
Employer DocKs Casieku Core. Feacilite Lb
Address ANHO S, Fak sorr Ay

ASA,

Zip Code
Individual capacity Official capacity
. Defendant No.2 st! : :

Name DNCTS. Me, Ketlin Reed 4
Job or Title (if known) is - 3
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Defendant No. 3

Name Buoetks Crete C ore, Tocris a exc, a\\
Job of Title (/inow) Coreeivioglt ence
Shield Number CN
Employer Caoeeu of ByrNa4
Address
: City er Zip Code

State:
[Aadividnat capacity ree capacity
DefendantNo.4 * :
Name Ye Ame ( IAL EL Wear CON C Dee VECS exc. a\

Job or Title (if known) a <5 wo Cry SCAG ECL.
Shield Number
Employer Avy O. A r Nie 1

Address So ‘
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Il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics; 403.U.S. 888 (1971); you may sue federal officials for the violation of certain
constitutional rights.

A. Are yo ringing suit against (check all that apply):
Fedefal officials (a Bivens claim) “ =
re i or oe ae eg § 1983 eo 7

e \ x B. Sect on es ae Sit ov0Ge, e* “Weise Cog rights, privi c.. © > aus oa by

the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what

federal constitutional or ae eae We do you claim i ee violated by state or local officials?
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Plaintiffs suing under Bivens may only recover ion of certain constitutional rights. I
are suing under Bivens, ye, Kar aee right(s) do you claim ee being violated by. federal

officials? Choo. xi Wy Corcliica, SOR, ATM 59S) WK 23,56),
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D. Section 1983 allows defendants to be found liable only when they have acted Splat color of any
a , statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
=k 42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
: See. Olooxe. ) of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

oh law. Attach additional pages if needed. each edicky. Makiltos - Orbe sea es
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Prisoner Sing

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OS oO as access “SS Atoc. courts,
Indicate whether you are a prisoner or other confined person as follows (check all that apply):
[ ] Pretrial detainee :

Ez] Civilly committed detainee

| -Immigration detainee

my Convicted and sentenced state prisoner

[ing)te ~ Convicted and sentenced federal prisoner

Sr cin a ) \\e CxO’

State as briefly as possible the facts of your case. Describe how each detenilant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite

' any cases or statutes. :If more than one claim is asserted, number each claim and write a short and plain -
statement of each claim ina separate paragraph. ‘Attach additional pages if needed.

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A, If _ eve a giving rise to your claim arose outside an BEC. where and on they aros

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What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else oe ? Who else saw what happened?) €yyece & \ Axccarcexsaxed o
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Injuries

If you sustained injuries related to the events alleged pov describe your injuries and state: what medic
treatment, if any, you required and did or did not receive. © Sows a ear dte were ee
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orcd Jor Syx Xe\me Cace.. Medico\ Sce. “COOSA Meee 2a”
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VI. ‘Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes. .
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims wow Solse. coricekhyorr ac

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VIT. Exhaustion of Administrative Remedies elites tae Procedur es

The Prison Litigation Reform Act. (“PLRA” » 42.US.C. § 1997€(@), tequires ‘that “(n}o 4 action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did yefir claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

[_] No

If yes, name the jail, prison, or other correctional facility where you were ne at \ e of the °
events giving rise to your claim(s).

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[3] siciese tata Lod * = .,

Cc, Does the grievance procedure at the jail, prison, or aes correctional facility where your claim(s) arose
. _ cover some or all of your claims? Ke kode _aremoke TEAC st Cote. ‘So
ne Won Coce.. SEE ENS OS OK ~ eo mNELO a |

. C] Do nat know,

If yes; which claim(s)? Ir abet tea can ie os come ack: Norah
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Dz. Did you file-a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concer pie the facts relating to this complaint?. Mconoxk ee. oe 4 Ko
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me aos \eemkeS a Sea QEAEX.
[] No

If no, did you file a grievance about the events described in this c mplaint at any other jail, prison, or
other corfectional facility? : ee, COED

Yes

[| No

E. If you did file a Bra

. Reques* ¢
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3. What was the result, if any?, x ' 6 emreetdiek cA _ais
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4. What steps, if any, did you take to ‘appeal that decision? Is the grievance process completed? If  ~
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

C/K
2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any; Sor Se ea Wo Sox newnaite

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mitinens coeey Al Asakawa:

G. Please set forth any additional infogtxation that is relevant to the exhaustion of your administrative

remedies, “Conse, uorda Worker /Aprickicdick Marios arc
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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
_administr ative paras )

VIII. Previous Lawsuits ‘ {

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?
[_] ve eS ‘4

No

If yes, state which, court dismissed your case, when this occurred, and attach a copy of the order if possible.

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if “ ,

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A. Have you filed oilier lawsuits in state or federal court dealing with the same facts involved in this
action?

[]y.

B. If your answer to A is yes, describe each lawsuit by answering questions 1 ‘through 7 below. (If there is
more than one lawsuit, descr ibe the additional lawsuits on another pages using the se same format.)

1. Parties to the previous lawsuit

Plaintiff(s) + , eih .
Defendant(s) -- * Eas ;

2. Court (if federal court, name the district; if state'court, name the-county arid State)

3. Docket or index number a 7 fs
1C/ a
2
4. Name of Judge assigned to your case _
5. Approximate date of filing lawsuit ;
C/A.

6. Is the case still pending? . ie one i
lees 8 7 ee
Une No a :
“If no, give the approximate date of disposition. | ‘ i AR : i
2 {

7. What was the result of the sige? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

a . ve, ‘
C. Have you: filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonment? ox\ey _Cehor’s\ \ncQ KO..- Noe. AMego\\sss3 NESS! ” ners
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D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) C/K

Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

#

*

C/A
3. Docket or index number

C/K ~
4, Name of Judge assigned to your case

C/A

5. _ Approximate date of filing lawsuit -

6. Is the case still pending?

[ | Yes
[| No

If no, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered:
in your favor? Was the case appealed?)

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IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise conighes with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result |
in the dismissal of my case.

Date of signing: B/ ee /or

Signature of Plaintiff

’ Printed Name of Plaintiff ANY ik x. ‘\, APTA SOIC - ey
Prison Identification # CACQ AK AQ

Prison Address “Vere Rey Ra Orici A WO ook uw \ Ye
Collece exile, Ra _AANE (o -
State Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

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Teleptione Number 9
E-mail Address

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